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  12                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
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  14   Ms. L., et al.,                                      Case No. 18-cv-00428-DMS-MDD
  15                         Petitioners-Plaintiffs,
       v.
  16                                                        Date Filed: August 20, 2018
       U.S. Immigration and Customs Enforcement
  17   (“ICE”), et al.,
  18                                                        UNOPPOSED MOTION TO
                           Respondents-Defendants.          LIFT STAY OF REMOVAL
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              Plaintiffs file this unopposed motion to lift the stay of removal as to Mr. T.
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       and his son, J.L.C.T., in order to permit their removal from the United States.
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              This motion is based on the representations made in the attached Declaration
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       and that of counsel in M.M.M, et al. v. Sessions, et al., 3:18-cv-01832-DMS-MDD,
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       who, having been consulted, do not object to the repatriation of the minor. The
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       declaration of counsel and an unredacted version of this filing are filed with a
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       request to seal.
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              The government does not oppose this motion.
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   1
                                CERTIFICATE OF SERVICE
   2
   3         I hereby certify that on August 20, 2018, I electronically filed the foregoing
   4   with the Clerk for the United States District Court for the Southern District of
   5
       California by using the appellate CM/ECF system. A true and correct copy of this
   6
   7   brief has been served via the Court’s CM/ECF system on all counsel of record.
   8                                                /s/ Lee Gelernt
                                                    Lee Gelernt, Esq.
   9                                                Dated: August 20, 2018
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